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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


UNITED STATES OF AMERICA,                    )      Case No.: 1:19CR00035
                                             )
        Plaintiff,                           )
                                             )      JUDGE SOLOMON OLIVER, JR.
        v.                                   )
                                             )      Government’s Motion for Pretrial
DEMETRIUS N. PITTS,                          )      Conference Pursuant to the Classified
                                             )      Information Procedures Act and
        Defendant.                           )      Memorandum of Law in Support Thereof



I.     Preliminary Statement

       The government respectfully submits this memorandum of law to apprise the Court of the

applicability of the Classified Information Procedures Act, 18 U.S.C. App. 3 (“CIPA”), to matters

relating to classified information that may arise in connection with this prosecution, both before

and during trial. The government also submits this memorandum of law in support of its motion

for a pretrial conference, pursuant to Section 2 of CIPA, to consider such matters.

II.    Background

       To assist the Court in this case, the government herein describes the procedures mandated

by CIPA for protecting classified information. CIPA “‘is essentially a procedural tool’ for a court

to address the relevance of classified information before it may be introduced.” United States v.

Abu Marzook, 412 F.Supp.2d 913, 917-18 (N.D. Ill. 2006) (quoting United States v. Dumeisi, 424
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F.3d 566, 578 (7th Cir. 2005)). The fundamental purpose of CIPA is “protecting and restricting

the discovery of classified information in a way that does not impair the defendant’s right to a fair

trial.” United States v. O’Hara, 301 F. 3d 563, 568 (7th Cir. 2002).

       “CIPA sets forth procedures for handling classified information in criminal cases.” United

States v. Tounisi, 2013 WL 5835770 (N.D.Ill. 10/30/2013) (citations omitted). CIPA “evidence[s]

Congress=s intent to protect classified information from unnecessary disclosure at any stage of a

criminal trial.” United States v. Apperson, 441 F.3d 1162, 1193 n.8 (10th Cir. 2006). However,

CIPA neither creates any new rights of discovery nor expands the rules governing the admissibility

of evidence. United States v. Johnson, 139 F.3d 1359, 1365 (11th Cir. 1998) (ACIPA has no

substantive impact on the admissibility or relevance of probative evidence.@); accord United States

v. Dumeisi, 424 F.3d 566, 578 (7th Cir. 2005) (ACIPA does not create any discovery rights for the

defendant.@); United States v. Smith, 780 F.2d 1102, 1106 (4th Cir. 1985) (en banc). Rather, CIPA

applies preexisting general discovery law to the classified-information arena, and it restricts the

discovery of such classified information to protect the government=s national security interests. 1

Baptista-Rodriguez, 17 F.3d at 1363-64; United States v. Klimavicius-Viloria, 144 F.3d 1249, 1261

(9th Cir. 1998); United States v. Yunis, 867 F.2d 617, 621 (D.C. Cir. 1989). The Supreme Court

recognizes the government’s compelling interest in “protecting both the secrecy of information

important to our national security and the appearance of confidentiality so essential to the effective

operation of our foreign intelligence service.” CIA v. Sims, 471 U.S. 159, 175 (1985) (quoting



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             CIPA does not Aexpand the traditional rules of discovery under which the government is not required
 to provide criminal defendants with information that is neither exculpatory nor, in some way, helpful to the
 defense.@ United States v. Varca, 896 F.2d 900, 905 (5th Cir. 1990); accord United States v. McVeigh, 923 F.
 Supp. 1310, 1314 (D. Colo. 1996) (ACIPA does not enlarge the scope of discovery or of Brady.@). Nor does it
 provide that the admissibility of classified information be governed by anything other than the well-established
 standards set forth in the Federal Rules of Evidence. Baptista-Rodriguez, 17 F.3d at 1364.


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Snepp v. United States, 444 U.S. 507, 509 n.3 (1980) (per curiam); accord Chicago & Southern

Air Lines, Inc. v. Waterman S.S. Corp., 333 U.S. 103, 111 (1948) (AThe [executive branch] has

available intelligence services whose reports are not and ought not to be published to the world.@).

Accordingly, federal courts have long recognized that A[i]t is not in the national interest for

revelation of either the existence or the product of [foreign intelligence operations and information]

to extend beyond the narrowest limits compatible with the assurance that no injustice is done to

the criminal defendant.@ United States v. Lemonakis, 485 F.2d 941, 963 (D.C. Cir. 1973).

Accordingly, CIPA=s fundamental purpose is to Aharmonize a defendant=s right to obtain and

present exculpatory material [at] trial and the government=s right to protect classified material in

the national interest.@ United States v. Pappas, 94 F.3d 795, 799 (2d Cir. 1996).

       A.       Pretrial Conferences, Protective Orders, and Discovery Under CIPA

                1.     Pretrial Conferences

       Section 2 of CIPA provides that “[a]t any time after the filing of the indictment or

information, any party may move for a pretrial conference to consider matters relating to classified

information that may arise in connection with the prosecution.” 18 U.S.C. App. III § 2. After such

a motion is filed, “or on its own motion, the court shall promptly hold a pretrial conference to

establish the timing of requests for discovery, the provision of notice required by Section 5 of

[CIPA], and the initiation of the procedure established by Section 6 of [CIPA].” Id. The pretrial

conference may be held with the government in camera and ex parte.

       To foster open discussions at the pretrial conference, Section 2 provides that no admission

made by the defendant or his attorney at the pretrial conference may be used against the defendant

unless the admission is in writing and signed by both the defendant and his attorney. 18 U.S.C.

App. III ' 2.


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       In this case, the government proposes a bifurcated in camera Section 2 conference. In the

first part of the conference, the government proposes that it provide details to the Court regarding

the classified information implicated by this prosecution, in an ex parte, in camera classified

conversation. In the second part of the conference, the government proposes that all counsel

participate in an in camera conference to discuss the discovery and motion plan more generally.

                 2.       Protective Orders

       Section 3 of CIPA requires the Court, upon the request of the United States, to “issue an

order to protect against the disclosure of any classified information disclosed by the United States

to any defendant in any criminal case . . . .” 18 U.S.C. App. III § 3. The key Senate Report on

CIPA, issued by the Senate Committee on the Judiciary, provides that the terms of a protective

order may include, but need not be limited to, provisions:

       (1) prohibiting the disclosure of the information except as authorized by the court;
       (2) requiring storage of material in a manner appropriate for the level of
       classification assigned to the documents to be disclosed: (3) requiring controlled
       access to the material during normal business hours and at other times upon
       reasonable notice; (4) requiring the maintenance of logs recording access by all
       persons authorized by the court to have access to the classified information in
       connection with the preparation of the defense; (5) requiring the making and
       handling of notes taken from material containing classified information; and (6)
       authorizing the assignment of government security personnel and the provision of
       government storage facilities.

S. Rep. No. 96-823 at 6, reprinted in 1980 U.S.C.C.A.N. 4294, 4299. Section 3 was intended Ato

codify the well-established practice, based on the inherent authority of federal courts, to issue

protective orders,@ Pappas, 94 F.3d at 801, as well as to supplement the district court’s authority

under Rule 16(d)(1) to issue protective orders in connection with the discovery process. 2 In




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            Rule 16(d)(1) provides in relevant part that Aat any time the court may, for good cause, deny, restrict or
 defer discovery or inspection, or grant other appropriate relief.@


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contrast to Rule 16(d)(1)=s discretionary authority, however, Section 3 Amakes it clear that

protective orders are to be issued, if requested, whenever the government discloses classified

information to a defendant in connection with a prosecution, e.g., Brady and Jencks material.@ Id.

               3.     Discovery of Classified Information by the Defendant

       Although CIPA does not alter the government’s discovery obligations, Section 4 of the Act

sets forth a procedural mechanism to protect classified information, including classified sources

and methods, while protecting a defendant’s due process rights. Pursuant to Section 4, the court,

upon a sufficient showing, may authorize the United States to:

       (1)     delete specified items of classified information from documents to be made
               available to the defendant through discovery under the Federal Rules of Criminal
               Procedure;

       (2)     substitute a summary of the information for such classified documents; or

       (3)     substitute a statement admitting the relevant facts that classified information would
               tend to prove.

       As with the procedures in Fed. R. Crim. P. 16(d)(1), Section 4 of CIPA provides that the

United States may demonstrate the need for such alternatives through an in camera, ex parte

submission to the Court. See United States v. Rezaq, 134 F.3d 1121, 1142 (D.C. Cir. 1998); United

States v. Yunis, 867 F.2d 617, 622-23 (D.C. Cir. 1989); United States v. Sarkissian, 841 F.2d 959,

965 (9th Cir. 1988); United States v. Pringle, 751 F.2d 419, 427 (1st Cir. 1984); Marzook, 435

F.Supp.2d. at 745. CIPA’s legislative history makes clear that the Court may take national security

interests into account in determining whether to permit discovery to be denied, restricted, or

deferred. S. Rep. No. 96-823, at 6 (reprinted in 1980 U.S.C.C.A.N. 4294, 4299-4300); United

States v. Smith, 780 F.2d 1102, 1110 (4th Cir. 1985) (holding that defendant’s right to discovery

must be balanced against public’s interest in non-disclosure); Pringle, 751 F.2d at 427.




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         B.       Notice of Defendant’s Intent to Disclose and Pretrial Evidentiary Rulings

         The United States does not anticipate providing classified information to the defense in this

case, however, classified information will come into play in this case. 3 There are three critical

pretrial steps in the handling of such classified information should the defense reasonably expect

to disclose or cause the disclosure of classified information.

         First, pursuant to Section 5(a) of CIPA, defense counsel must specify the precise classified

information they reasonably expect to disclose or to cause the disclosure of “in any manner in

connection with any trial or pretrial proceeding....” See, e.g., United States v. Wilson, 750 F.2d 7,

9 (2d Cir. 1984); United States v. Collins, 720 F.2d 1195, 1199-1200 (11th Cir. 1983).

         Second, the Court, upon motion of the government, shall hold a hearing pursuant to

Section 6(a) to determine the use, relevance, and admissibility of the proposed evidence. At the

Section 6(a) hearing, the Court hears the defense proffer and the arguments of counsel, then rules

whether the classified information identified by the defense is relevant under Rule 401 of the

Federal Rules of Evidence. 4 Smith, 780 F.2d at 1106; see generally Yunis, 867 F.2d at 622. The

Court must also determine whether the evidence is cumulative, “prejudicial, confusing, or

misleading,” so that it should be excluded under Rule 403 of the Federal Rules of Evidence. See

Wilson, 750 F.2d at 9. At the conclusion of the Section 6(a) hearing, the Court must state in writing

the reasons for its determination as to each item of classified information.

         Third, following the Section 6(a) hearing and formal findings of admissibility by the Court,

the United States may move to substitute an admission of relevant facts or summaries for classified



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           Even though the government does not expect to provide classified information to the defense, the
government provides this explanation so the court and counsel has a better understanding of the CIPA statute.
         4
           CIPA does not change the “generally applicable evidentiary rules of admissibility.” Wilson, 750 F.2d at 9;
accord Yunis, 867 F.2d at 623. Rather, CIPA alters the timing of rulings concerning admissibility, so as to require
them to be made before trial. United States v. Poindexter, 698 F. Supp. 316, 318 (D.D.C. 1988); accord Smith, 780
F.2d at 1106.

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information that the Court rules is admissible. The Court must grant the motion for substitution “if

it finds that the statement or summary will provide the defendant with substantially the same ability

to make his defense as would disclosure of the specific classified information.” 18 U.S.C. App. III

§ 6(c)(1).

        If the Court determines that the item of classified information at issue is relevant and

admissible and denies the government’s motion for substitution, Section 6(e)(1) of CIPA permits

the government to object to the classified information’s disclosure. 18 U.S.C. App. III § 6(e)(1).

In such cases, the Court “shall order that the defendant not disclose or cause the disclosure of such

information.” Id. Section 6(e) then sets forth a sliding scale of remedies that the Court may impose

in such a case. Id. at § 6(e).

        C.      Rules Governing Introduction of Classified Information

        In order to prevent “unnecessary disclosure” of classified information, CIPA Section 8(b)

permits the Court to order admission into evidence of only a part of a writing, recording, or

photograph. Alternatively, the Court may order into evidence the entire writing, recording, or

photograph with all or part of the classified information contained therein excised. Excision of

such classified information may not be authorized, however, if fairness requires that the whole

document, recording, or photograph be considered.

        Section 8(c) establishes a procedure for addressing the problems that may emerge during

the taking of testimony from a witness who possesses classified information not previously found

to be admissible. If a defendant reasonably expects that a question or a line of inquiry would result

in disclosure of classified information, CIPA mandates that he or she give the United States notice

under Section 5 of the Act; Section 8(c), in effect, serves as a supplement to the Section 6(a)

procedures, addressing circumstances that might not have been anticipated in advance of the taking



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of testimony. Thus, upon objection of the United States to a defense question or line of inquiry not

covered in a Section 6(a) proceeding, the Court must take suitable action to avoid the improper

disclosure of classified information by a witness.

       D.      Security Procedures

       Section 9 of CIPA required the Chief Justice of the United States to prescribe security

procedures for the protection of classified information in the custody of federal courts. On January

15, 2011, Chief Justice Roberts promulgated revised security procedures.

       E.      Existence of Classified Material

       In this case, classified material exists as part of the investigation. The disclosure of such

material, however, would raise issues of national security. Pursuant to Section 2 of CIPA, the

United States respectfully requests that the Court hold a pretrial conference hearing as soon as

practicable.

       At that pretrial conference, the government anticipates that it will be prepared to report to

the Court the universe of classified material gathered by the government during this investigation

and the government’s proposed plan to address its discovery obligations, as well as for the filing

of any motions pursuant to CIPA Section 4.

II.    Argument

       Defendant Demetrius Pitts is charged with attempting to provide material support or

resources to a designated foreign terrorist group, Al-Qaeda, in violation of 18 U.S.C. § 2339B.

Due to the nature of the charges and the expected evidence, the United States anticipates that issues

relating to classified information will arise in connection with this case. Accordingly, the United

States respectfully moves for a pretrial conference pursuant to Section 2 of CIPA to establish a

discovery and motion schedule relating to any classified information. Before that conference, the



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government will endeavor to identify all possible classified material and determine its potential

applicability, nature and, volume.

       At the Section 2 pretrial conference, the government anticipates it will be prepared to report

to the court regarding the volume of possible classified information that may be implicated in this

case, and to provide an estimate of the time necessary to conduct a complete review of any

potentially relevant classified information. Based on that estimate, the government will be

prepared to suggest a schedule for the completion of the review, and be prepared to discuss

discovery and the timing for the filing of motions, pursuant to Sections 3 and 4 of CIPA. Because

of the classified nature of any such information, the government will not be able to describe the

nature of the information in open court. As such, government requests authorization to convey the

classified information ex parte and in camera, either orally at a sealed conference or through a

sealed letter. Finally, pursuant to Section 4 of CIPA, the government will request that the Court

authorize in camera, ex parte submissions regarding classified materials that the government

believes should be subject to deletion, a process courts have consistently regarded as proper in

matters involving national security. See, e.g., United States v. Mejia, 448 F.3d 436, 455 (D.C. Cir.

2006); United State v. Gurolla, 333 F.3d 944, 951 (9th Cir. 2003); Pringle, 751 F.2d at 427; and

United States v. Marzook, 435 F.Supp. 2d at 745.




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III.    Conclusion

        For the foregoing reasons, the government respectfully requests that the Court set a date

for a pretrial conference pursuant to Section 2 of CIPA.

                                             Respectfully submitted,

                                             JUSTIN E. HERDMAN
                                             United States Attorney

                                     By:     /s/ Michelle M. Baeppler
                                             Michelle M. Baeppler
                                             Jerome Teresinski
                                             Assistant U.S. Attorneys
                                             2 South Main Street, Suite 208
                                             Akron, Ohio 44308
                                             (330) 761-0519

                                             Paul Casey
                                             Trial Attorney
                                             National Security Division
                                             Counterterrorism Section
                                             950 Pennsylvania Ave., NW
                                             Washington, D.C. 20530
                                             (202) 532-3819




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 18th day of July 2019 a copy of the foregoing document was

filed electronically. Notice of this filing will be sent to all parties by operation of the Court's

electronic filing system. All other parties will be served by regular U.S. Mail. Parties may

access this filing through the Court's system.


                                                        /s/ Michelle M. Baeppler
                                                        Michelle M. Baeppler
                                                        Assistant U.S. Attorney




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